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                               UNITED STATES DISTRICT COURT


                                     DISTRICT OF NEW    JERSEY


                                     MINUTES    OF PROCEEDINGS


    CAMDEN OFFICE:                                   DATE OF PROCEEDINGS:      5/15/17

    JUDGE:    Noel L. Hillman


    COURT REPORTER:          Robert Tate


    OTHERS:                                          DOCKET NO:    CR #15-00439
    Tom Leakan       (U.S.    Probation)



    TITLE OF CASE:


    UNITED STATES OF AMERICA
             (vs)
    AUGUSTO DASILVA



    APPEARANCES:
     Paul A. Murphy,         AUSA for Gov't.
    Justin P. Walder,          Esq.,   for deft.
     Caroline Rule,     Esq. for deft.
     (Deft. Present)




    NATURE OF PROCEEDINGS:             -SENTENCING ON 1-COUNT INFORMATION



    Sentence:       Probation    -    5 yrs. w/Special Conditions;      Fine   -




     $75,000;   Special       Assessment    - $100

    COURT ADVISED DEFT.          OF    RIGHT TO APPEAL.




                                                s/Barbara Fisher
                                                   Deputy Clerk



     Time Commenced:         11:40 AM              Time Adjourned:   2:40 PM
